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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


CRYSTALLEX INTERNATIONAL CORP.,                        )
                                                       )
        Plaintiff,                                     )
                                                       )
                v.                                     ) Misc. No. 17-151-LPS
                                                       )
BOLIVARIAN REPUBLIC OF VENEZUELA,                      )
                                                       )
        Defendant.                                     )
                                                       )
_______________________________________                )



            DECLARATION PURSUANT TO 28 U.S.C. § 1746 AND 28 U.S.C. § 455


       I, Robert B. Pincus, declare:

       1.       I submit this declaration pursuant to Federal Rule of Civil Procedure 53(b)(3),

related to my appointment as a special master in the above-captioned case.

       2.       I have reviewed potential conflicts for the above-captioned case’s parties,

attorneys of record, and those attorneys’ law firms.

       3.       Based on my review of potential conflicts, I do not believe that there are any

grounds for my disqualification as a special master under 28 U.S.C. § 455.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on May 28, 2021.




                                              /s/ Robert B. Pincus              .
                                              Robert B. Pincus
